             Case 1:20-cv-01088-JEB Document 16 Filed 03/01/21 Page 1 of 5



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SIERRA CLUB,

                Plaintiff,

        v.                                                   No. 1:20-cv-1088

JANE NISHIDA, in her official capacity as
Acting Administrator, U.S. Environmental
Protection Agency,

                Defendant.


                                     JOINT STATUS REPORT

        Plaintiff Sierra Club and Defendant Jane Nishida in her official capacity as Acting

Administrator of the United States Environmental Protection Agency (“EPA”)1 by and through the

undersigned counsel, jointly submit this status report in response to the Court’s September 9, 2020

Order staying this litigation, the Court’s October 9, 2020 Order directing the parties to submit a

status report by November 9, 2020, and every thirty days until the stay is lifted, and the Court’s

February 26, 2021 Order directing the parties to provide a status report by March 2, 2021. As

explained below, the parties request that the Court continue to stay all deadlines and proceedings in

this case while the parties discuss resolution of this case and potential settlement of Sierra Club’s

claim for costs of litigation. In support of this motion, the parties state as follows:

1.      On April 27, 2020, Plaintiff Sierra Club filed a complaint for declaratory and injunctive relief

        alleging that EPA failed to fulfill a nondiscretionary duty under Clean Air Act (“CAA”)

        section 110(k)(1)(B), 42 U.S.C. 7410(k)(1)(B). ECF No. 1 (“Complaint”). Sierra Club

        alleged that EPA failed to find that Texas did not timely make a complete state
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 Andrew Wheeler has resigned as Administrator and Jane Nishida has assumed the position of
Acting Administrator of EPA. Accordingly, Acting Administrator Nishida is automatically
substituted as a party in this case under Federal Rule of Civil Procedure 25(d).


                                                    1
       Case 1:20-cv-01088-JEB Document 16 Filed 03/01/21 Page 2 of 5



     implementation plan (“SIP”) submittal addressing the 2010 primary sulfur dioxide (“SO2”)

     National Ambient Air Quality Standard (“NAAQS”) for the Anderson-Freestone Counties,

     Rusk-Panola Counties, and Titus County nonattainment areas.

2.   On July 9, 2020, and August 7, 2020, EPA filed unopposed motions for extensions of time

     to answer Sierra Club’s Complaint. ECF Nos. 9, 10. EPA sought these extensions to allow

     additional time for EPA to take final action resolving the issues in this case and for

     publication of that final action, respectively. The Court granted those motions on July 9,

     2020, and August 10, 2020, respectively.

3.   On August 10, 2020, EPA published notice in the Federal Register of its final action finding

     that Texas failed to make a complete SIP submittal for the 2010 primary SO2 NAAQS for

     the Anderson-Freestone Counties, Rusk-Panola Counties, and Titus County nonattainment

     areas by the applicable deadline. 85 Fed. Reg. 48,111 (Aug. 10, 2020).

4.   EPA’s issuance of the Finding of Failure to Submit resolved all of the substantive issues in

     this case.

5.   The parties have signed an agreement resolving Sierra Club’s claims for costs and attorneys’

     fees (“Agreement”). Once fully satisfied, the Agreement will obviate the need for any

     further proceedings in this matter.

6.   Within 30 days of Sierra Club’s receipt of the payment specified in the Agreement, the

     parties intend to submit a stipulated notice of dismissal of this case with prejudice pursuant

     to Federal Rule of Civil Procedure 41(a). If the United States does not make payment within

     the time specified in the Agreement, Sierra Club reserves the right to petition the Court for

     its full costs of litigation, including attorney fees.




                                                   2
          Case 1:20-cv-01088-JEB Document 16 Filed 03/01/21 Page 3 of 5



7.      The parties therefore respectfully request that the Court continue to stay proceedings in this

        case to facilitate the parties’ resolution of Sierra Club’s claim for costs without the need for

        litigation.

8.      Neither party nor the Court will be prejudiced by the requested stay. No schedule has been

        established in this case, no motions are pending, and no substantive issues remain to be

        resolved.

        WHEREFORE, the parties respectfully request the Court continue to stay all deadlines and

proceedings in this case.

DATED: this 1st day of March, 2021.



                                                Respectfully Submitted,

                                                /s/ Joshua Smith
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                                                    3
Case 1:20-cv-01088-JEB Document 16 Filed 03/01/21 Page 4 of 5



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                           Counsel for Defendant




                              4
         Case 1:20-cv-01088-JEB Document 16 Filed 03/01/21 Page 5 of 5



                                CERTIFICATE OF SERVICE

       I certify that on March 1, 2021, a copy of the foregoing was served by electronic means on

all counsel of record by the Court’s CM/ECF system.

                                                       /s/ Joshua Smith
                                                      Joshua Smith




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